           Case 1:18-cv-01805-JGK Document 13 Filed 03/07/18 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                              :
MERCER HEALTH & BENEFITS LLC,                                 :
                                                              :      Case No. 18 CV 1805
                                    Plaintiff,                :
                                                              :
                  -against-                                   :
                                                              :
MATTHEW DIGREGORIO, JOANNE STEED, :
JADA PRESTON and LOCKTON COMPANIES, :
LLC,                                                          :
                                    Defendants.               :
                                                              :
--------------------------------------------------------------X

                  RULE 7.1 STATEMENT OF LOCKTON COMPANIES, LLC

                 Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for Defendant Lockton Companies, LLC (“Lockton”) (a private non-governmental

party) certifies that Lockton has no parent corporation and that no publicly held corporation

owns ten percent (10%) or more of its stock.

Dated: New York, New York
       March 7, 2018
                                                     GOLENBOCK EISEMAN ASSOR
                                                     BELL & PESKOE LLP

                                                     By:      /s/ Martin S. Siegel
                                                           Martin S. Siegel
                                                           S. Preston Ricardo
                                                           Leron Thumim

                                                      711 Third Avenue, 17th Floor
                                                      New York, New York 10017
                                                      jflaxer@golenbock.com
                                                      jveit@golenbock.com
                                                      (212) 907-7300
                                                      Counsel for Defendants




2833317
